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 1                                                                     The Hon. James P. Donohue
                                                                           Chief Magistrate Judge
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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
10

11
                                                          CASE NO. 2:17-CV-00218-RSM-JPD
12
     Daniel Ramirez Medina,
13                                                        DECLARATION OF EDWINA
                            Petitioner,                   BARVOSA, PHD, IN SUPPORT OF
14                                                        PETITIONER’S RESPONSE BRIEF RE:
                    v.                                    COURT’S FEBRUARY 14, 2017, ORDER
15   U.S. DEPARTMENT OF HOMELAND                          DIRECTING SERVICE, SETTING
     SECURITY; JOHN KELLY, Secretary of                   STATUS CONFERENCE, AND
16   Homeland Security; NATHALIE ASHER,                   SETTING BRIEFING SCHEDULE
     Director of the Seattle Field Office of U.S.
17   Immigration and Customs Enforcement,
18                          Respondents.
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                               -DECLARATION OF EDWINA BARVOSA, PHD
     Case 2:17-cv-00218-RSM      Document 35-8     Filed 02/16/17   Page 2 of 17



 1                    DECLARATION OF EDWINA BARVOSA
 2   I, Edwina Barvosa, declare as follows:
 3   1.    I am an Associate Professor of applied social and political theory at the
 4   University of California, Santa Barbara (UCSB) where I have been a research
 5   faculty member since 1998. I earned my PhD in political science from Harvard
 6   University and my MA in social and political science from Cambridge
 7   University in the United Kingdom.
 8   2.    I taught ethnic studies in the Department of Chicana and Chicano Studies
 9   at UCSB for fifteen years (1998-2014). Since 1989 my university teaching has
10   included a focus on gender identities, sexual and gender diversity, including
11   masculine identity formations. I currently teach in the department of Feminist
12   Studies.
13   3.    I am also a member of several professional associations including the
14   Western Political Science Association, the American Political Science
15   Association, and newly of the Society for Personality and Social Psychology.
16   Last year I served as the President of the Latino Caucus of the American
17   Political Science Association, an elected and national position.
18   4.    I have served as an expert witness in cases involving gang injunctions or
19   gang enhancements. Included in my experience is service as the sole expert
20   witness in Santa Barbara Superior Court case in which the City of Santa Barbara
21   sought a civil gang injunction. I provided expert testimony regarding gang
22   identities and membership, scholarship on the efficacy of gang injunctions, and
23   local crime statistics. I also spoke to the methodological weakness of the
24   determinations used by SBPD regarding gang membership and the fitness of the
25   proposed remedy to patterns of gang activity in Santa Barbara. In addition, I
26   have testified as an expert regarding the identity-related harms of vague curfew
27   provisions of gang-injunctions. I have also testified regarding the mistaken
28


                           -DECLARATION OF EDWINA BARVOSA, PHD
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 1   assumptions employed by law enforcement when determining gang identity and
 2   the resulting errors.
 3   5.      Attached hereto as Exhibit A is my Curriculum Vitae, including list of my
 4   publications.
 5   6.      My declaration is based on a review of the U.S. Department of Homeland
 6   Security Record of Deportable/Inadmissible Alien for Daniel Ramirez Medina,
 7   Case 2:17-cv-00218-RSM-JPD, Dkt. No. 32-3. I understand that Mr. Ramirez
 8   Medina is recipient of Deferred Action for Childhood Arrivals (DACA).
 9   7.      Human beings have many types of social identities, as well as different
10   kinds and degrees of social connection and interaction.1 In this social complexity,
11   people relate to others on many different footings. Moreover, because social ties
12   can be many and varied, the identities held by one person are not presumed to be
13   shared by everyone with whom that person interacts. This social complexity exists
14   for adults as well as for youth.
15   8.      In the case of Daniel Ramirez Medina, however, the DHS Report shows
16   that enforcement personnel have interpreted Mr. Ramirez Medina as having
17   confessed to gang membership because, they say, he self-reports having “hung
18   out” with gang-involved persons in Southern California and with Mexican
19   heritage youth in Washington State. This attribution of gang membership and
20   identity to Mr. Ramirez Medina, however, is not borne out by the available
21   evidence, nor by Mr. Ramirez Medina’s statement as recorded.
22   9.      Gangs are a ubiquitous aspect of the complex social terrain of many urban
23   neighborhoods. As such, it is frequently difficult, if not effectively impossible, to
24   avoid all social contact with gang members because local social networks are
25   1
      This is a foundational understanding in Western thought traceable especially to the work of David Hume and
26   particularly elaborated by founding psychologist William James. See William James, The Principles of Psychology,
     ed. by Frederick. H. Burkhardt, Fredson Bowers, and Ignas K. Skrupskelis. Vol. 1, The Works of William James,
     New York: Harvard University Press, 1981. For full discussion of this intellectual history and the social and
27
     political significance of the multiple identities of the self, see, Edwina Barvosa, Wealth of Selves: Multiple
     Identities, Mestiza Consciousness, and the Subject of Politics, College Station, TX: Texas A&M University Press,
28   2008.



                                  -DECLARATION OF EDWINA BARVOSA, PHD
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                 Exhibit A
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                                  Edwina Barvosa
                                       Curriculum Vitae


                  Associate Professor of Applied Social and Political Theory
                           University of California, Santa Barbara
                              Department of Feminist Studies
                            4624 South Hall, 552 University Road
                               Santa Barbara, CA 93106-4120
                              Email: barvosa@femst.ucsb.edu

EDUCATION

        Harvard University               Ph.D. Political Science                          1998
        Cambridge University             MA/BA Social and Political Science               1993
        Pomona College                   BA Government                                    1990

APPOINTMENTS

        2011-present Associate Professor, Applied Social and Political Theory, Department
                     of Feminist Studies, UC Santa Barbara
        2004-present Associate Professor as Faculty Affiliate, Department of Political
                     Science, UC Santa Barbara
        2006-2014    Associate Professor, Social and Political Theory, Department
                     of Chicana/o Studies, UC Santa Barbara (joint appointment with
                     Feminist Studies 2011-14)
        2010-2016    Affiliate Researcher, UCSB Center for Nanotechnology and Society
        1998-2006    Assistant Professor, Social and Political Theory, Department of
                     Chicana/o Studies, UC Santa Barbara
        1992-93      Adjunct Lecturer in Macroeconomics, Cambridge Business
                     College, Cambridge UK

AREAS OF SPECIALIZATION

Interdisciplinary Background: Political Science; applied social theory; intellectual history;
Latino Politics & Gender Studies

Specialization in Political Science & Constructivist Social Theory: social construction of
consciousness and group identities; social formation of self-contradictions and unconscious
bias; effects of unconscious bias on resilient political conflicts; racial, ethnic, gender & other
hierarchies; extremism in social & political systems; democratic theory, especially
deliberative democracy; racial, ethnic, and gender politics; Latino politics & social justice
movements


FELLOWSHIPS, HONORS & AWARDS (Selected)

        Pearl Chase Research Grant                                  2015-17
        UC Regents’ Humanities Faculty Fellowship Award             2014
        Excellence in Education Award, Student Life & Greek Affairs 2013
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        University of California Regents’ Junior Faculty Fellowship      2002
        Ford Foundation Minority Postdoctoral Fellowship,
               UCLA César Chávez Center                                  2001
        Opening Convocation Faculty Address, UCSB                        2001
        Outstanding Faculty Award, UCSB Office of Residential Life       2001
        Ford Foundation Minority Pre-doctoral Fellowship                 1991-94


CURRENT RESEARCH

Implementing deliberative democracy: study of new forms of democratization & science
governance Book manuscript under review (invited revise & resubmit): “Deliberative
Democracy Now: US Public Engagement on LGBT Equality and the Emergence of Public
Deliberative Systems.” Under review, Cambridge University Press, anticipated publication
2017.

Unconscious bias shaping major social/political systems: especially in criminal justice & the
suppressive policing of Black and Latino men and boys.
Recent & Current Funding: Pearl Chase Research Grant 2015-17, UCSB and University of
California Regents’ Humanities Faculty Fellowship 2014 Book in-progress: “Blind Spots and
Broken Windows: Implicit Bias and Racial Inequality in Suppressive Policing.”


PUBLICATIONS

Books

Wealth of Selves: Multiple Identities, Mestiza Consciousness, and the Subject of Politics. College
Station, TX: Texas A&M University Press. 2008.

Articles, Essays, & Book Chapters (Selected)

“Borderlands Identities” book chapter in Routledge Companion to Feminist Philosophy, Ann
Garry, et al, eds. (Forthcoming 2017)

“Mapping Public Ambivalence in Public Engagement with Science: Implications for
Democratizing the Governance of Fracking Technologies in the USA”, Journal of
Environmental Sciences and Studies, Vol 5, no. 4 (2015): 497-507.

“Unconscious Bias in the Suppressive Policing of Black and Latino Men and Boys:
Neuroscience, Borderlands Theory, and the Policymaking Quest for Just Policing.” Politics
Groups and Identities, 2, no, 2 (2014): 260-283.

Symposium: “Comment on Ange-Marie Hancock’s Solidarity Politics for Millennials: A Guide
to Ending the Oppression Olympics,” Politics, Groups, and Identities, Vol. 2, no. 1 (2014): 157-
160.

“Intersectionality” The Encyclopedia of Political Thought, M. Gibbons, ed. Malden, MA:
Blackwell Publishing, 2014, pp. 1900-1902.




E. Barvosa ~ UCSB                               2                                   February 2017
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Review Essay: “Reflections on Anzaldúa: Bridging and The Anzaldúa Reader” Hypatia: A
Journal of Feminist Philosophy, Vol 28, no. 2 (2013): 377-382.

“Applying Latina Feminist Philosophical Approaches to the Self to Reinterpret Anti-
Immigrant Politics in America.” American Philosophical Association Newsletter on
Hispanic/Latino Issues in Philosophy 11, no. 2 (2012): 16-21.

“Mestiza Consciousness in Relation to Sustained Political Solidarity: A Chicana Feminist
Interpretation of the Farmworker Movement.” Aztlán, 36, no. 2 (2011): 121-154.

Symposium: “Inner Contradiction to Immigration Quagmire: A Response to Rogers Smith.”
Perspectives on Politics 9, no. 3 (2011): 559-562.

“Living in a World Between: Multiple Identities and the Challenges Faced by First
Generations Immigrants.” In The Changing Face of America, edited by Valerie Martinez-
Ebers and Manochehr Dorraj. New York: Oxford University Press. 2007.

“Mestiza Autonomy as Relational Autonomy: Ambivalence and the Social Character of Free
Will.” Journal of Political Philosophy 15, no. 1 (2007): 1-21.

“American Immigrants in American Conflict.” Georgetown Journal of International Affairs 7,
no. 2 (2006): 7-14.

“Multiple Identity.” In The New Dictionary of the History of Ideas, Vol. 4, edited by Maryanne
Cline Horowitz. New York: Charles Scribners & Sons, 2004.

“Politics and the U.S. Latina and Latino Religious Experience.” In Introduction to the U.S.
Latina/o Religious Experience, edited by Hector Avalos. London: Brill Academic Publishers,
2004.

“Strange Tempest: Agency, Poststructuralism, and the Shape of Feminist Politics to Come.”
International Journal of Gender Studies 6, no. 1-2 (2001): 123-137.; Reprinted in Butler
Matters: Judith Butler’s Impact on Feminist and Queer Studies Since Gender Trouble, edited by
M. S. Breen and W. J. Blumenfeld. London: Ashgate, 2005, 173-188.

“Latina/o Identities: Social Diversity and U.S. Politics.” Co-authored with Ronald Schmidt, Sr.
and Rodolfo D. Torres. PS: Political Science and Politics 33, no 3. (2000): 261-284.

“Breaking Silence: Developments in the Publication and Politics of Chicana Creative Writing,
1973-1998.” In Chicano Renaissance: Contemporary Cultural Trends, edited by David Maciel,
Isidro D. Ortiz, and María Herrera-Sobek. Tucson: University of Arizona Press, 2000, 261-
284.

“Multiple Identity and Coalition Building: How Identity Differences Within Us Enable
Radical Alliances Among Us.” Contemporary Justice Review 2, no. 2 (1999): 111-126;
Reprinted twice: “Multiple Identity and Coalition Building: How Identity Differences Within
Us Enable Radical Alliances Among Us.” In Bridging Cultures: An Introduction to
Chicano/Latino Studies, edited by Mario T. Garcia. Dubuque, IA: Kendall/Hunt Publishers,
2000, and in Forging Radical Alliances Across Differences: Coalition Politics for a New
Millennium, edited by Jill M. Bystydzienski and Steven P. Schacht. New York: Rowman &
Littlefield Publishers, 2001, 21-33.


E. Barvosa ~ UCSB                              3                                  February 2017
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Book Reviews

Review, “ Domestic Negotiations: Gender, Nation, and Self-Fashionings in US Mexicana and
Chicana Literature and Art by Marcie McMahon. Aztlán: A Journal of Chicano Studies, Vol. 40,
no. 2 (2015) 269-273 (in press).

Review, “Mythohistorical Interventions: The Chicano Movement and Its Legacies by Lee
Bebout. The Americas: A Quarterly Review of Latina American History, Vol. 69, no. 3 (2013):
420-421.

Review, “Making Americans: Immigration, Race, and the Origins of Diverse Democracy by
Desmond King.” American Political Science Review 95, no. 2 (2001): 476.

Review, “Decolonial Imaginary: Writing Chicanas into History by Emma Pérez.” The Journal
of American History Vol. 88, no. 1 (2001): 278-279.


Budgets & Grants History (Selected)

2015-17        UCSB ~ Pearl Chase Research Grant, “Local Racial Profiling Perspectives &
               Readiness for Prospective Remedies: Mapping the Contemporary Policing
               Ecology of Santa Barbara” $10,500

2014-15        UCSB ~ NSF Center for Nanotechnology in Society (CNS) Seed Grant:
               “Theorizing the Underlying Cognitive Mechanisms of Upstream Public
               Deliberations: Neuroscience, Identity Formations & Unconscious Bias
               $42,000.

2013-14        UCSB ~ Center for Nanotechnology in Society (CNS), NSF Center Funded
               Interdisciplinary Research Group 3, “Theorizing Deliberative Democracy
               in the Context of New Technologies” affiliated research team $66,594.

2012-13        UCSB ~ Institute for Social, Behavior, and Economic Research, Social Science
               Research Grant Program, “Decentering Democracy: Rethinking Collective
               Will Formation in the Pursuit of Justice in Diverse Democracies.” PI $7,626.

2012-13        UCSB Academic Senate; “Decentering Democracy: Identity,
               Multiplicity, and Justice in the Creation of Collective Will” PI $2,560.

Other Grant History (selected):

University of California, Chicano/Latino Research Grant. “Making Margins.” 2008-2009.
University of California, Santa Barbara, Institute for Social, Behavioral, and Economic
     Research Grant. “Identifying with the Extreme.” 2006-2007.
University of California, Academic Senate Council on Research Grant. “Identifying with
     the Extreme.” 2006-2007.
University of California, Chicano/Latino Research Grant. “Mestiza Democracy: Latina
     Perspectives on Diverse Democracy.” 2004-2005.
University of California, Santa Barbara, Faculty Career Development Award. Wealth of
     Selves. 2000-2001.



E. Barvosa ~ UCSB                             4                                    February 2017
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Research Applied as an Expert Witness (Gang Injunction & Gang Enhancement Cases):

People of the State of California and City of Santa Barbara (Plaintiff and Real
        Party in Interest) v. Eastside and Westside et al.; Case No. 1379826; May 2014; Called
        for the Defendants
People of the State of California v. Christian Botello, September 2014; Called for Defendant
People of the State of California v. Felipe Alejandro Flores, Alejandro Peralta,
        and Gabriel Carbajal, Case No. 140351; Called as consultant for Defendant Alejandro
        Peralta
Rodriguez v. City of Los Angeles, Case No. CV 11-01135 DMG (JEMx); Class Action, called for
        the Plaintiffs
People of the State of California v. Townsend Street Criminal Street Gang et al. Case No. 30-
        2014-00727728; called for the defendant Daniel Antunez

Professional Memberships

American Political Science Association
Western Political Science Association
Society for the Social Study of Science
Society for Personality and Social Psychology

Special Appointments (Selected)

2015- present President        Latino Caucus of the American Political Science
                                       Association (APSA)
2013-15        V. President    Latino Caucus of the American Political Science
                                       Association (APSA)
2007-08        President       Latino Caucus of the American Political Science
                                       Association (APSA)
2006-08        Co-Chair        Standing Committee on the Status of Latinos in the
                                       Profession WPSA (with Celeste Montoya)
2004-07        Liaison         Western Political Science Association Executive Council
                                       Liaison to the Status Committee on Latinos in the
                                       Profession & Liaison to Nominations
2004-07        Member          Executive Council, Western Political Science Association
2002-04        Co-Chair        American Political Science Association Standing Committee
                                       on the Status of Latinos in the Profession (with
                                       Michael Jones-Correa)
2001-02        Member          American Political Science Association Standing Committee
                                       on the Status of Latinos in the Profession
1999-02        Liaison         Ford Foundation Minority Fellowship, Regional Liaison

Professional Service (Selected)

2014-15        Co-Chair        WPSA Annual Meeting Section: Race, Gender, and
                                       Intersectionality (w/Heath Fogg-Davis)
2012-present Member            Editorial Board, Politics Groups and Identities
2009-2016    Member            Editorial Board, Perspectives on Politics
2010-11      Chair             WPSA Annual Meeting Section: Political Theory and Political
                                       Problems



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2009-10        Chair           WPSA Annual Meeting Section: Race, Gender, and
                                      Intersectionality
2008-09        Chair           WPSA Annual Meeting Section: Intersectionality
2008           Member          APSA Search Committee, Editor Perspectives on Politics
2007-8         Chair           WPSA Annual Meeting Section: Gender and Politics
2006-7         Chair           WPSA Annual Meeting Section: Intersectionality
2005-6         Chair           MPSA Annual Meeting Section: Political Philosophy
2005-6         Chair           WPSA Annual Meeting Section: Political Theory (with
                                      Sharon Krause)
1999           Co-Chair        APSA Annual Meeting Section 1: Political Thought and
                                      Philosophy (with Richard Tuck)
1999           Co-Chair        Ford Minority Fellowship, Annual Meeting of Fellows,
                                      Conference & Planning Committee (with Sekazi
                                      Mtingwa)

University & UC Systemwide Service (Selected)

2014-15         Chair          Systemwide Committee on Committees (UCoC)
2013-14         Vice Chair     Systemwide Committee on Committees (UCoC)
2012-present    Chair          Committee on Committees, Academic Senate, UCSB
2011-13         Member         Systemwide Committee on Committees (UCoC)
2010-12         Member         Committee on Committees, Academic Senate, UCSB
2007-09         Member         Endowed Chair Search Committee, Chicana/o Studies, UCSB


Research Presentations (Selected)

“Latino Youth Gang Identity Formations & the State: The Influence of Suppressive Policing
on Latino Youth Identities” delivered at the Politics of Latino Identity Conference, Rice
University, Houston Texas, December 4-5, 2015.

“Do (Some) Deliberative Democratic Systems Already Exist?: A Template for Assessing the
Presence and Effectiveness of Large-Scale Deliberative Democratic Systems” Delivered at
the Annual Meeting of the Western Political Science Association, Seattle, WA, 18 April 2014.

“Ambivalence as Asset: Mapping Meaning & Epistemic Diversity in Presentations: Upstream
Public Engagement with Nanotechnology.” Delivered at the Annual Meeting of the Society
for the Social Studies of Science, Copenhagen, Denmark. 19 October 2012.

“Original Theft & American Senses of Self: Melancholia, Identity Contradiction, and the
American Tradition of Anti-Immigrant Politics.” Delivered at the Annual Meeting of the
Western Political Science Association, San Antonio, TX. 22 April 2011.

“Mestiza Consciousness, Activism, and the Politics of Selfcraft.” Chicana Studies Colloquium.
Department of Chicana/o Studies, University of California, Santa Barbara, CA. 15 May 2010.

“Latina/o Political Thought: Exploring the Relationship Between Decentered Subjectivity,
Coalition Building, and Sustained Political Solidarity.” Delivered at the Annual Meeting of
the American Political Science Association, Washington, DC. 2 September 2010.




E. Barvosa ~ UCSB                             6                                  February 2017
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“Identity Achievements: Accruing the Social Benefits of Integrated Schools.” Delivered at
the Annual Meeting of the Midwest Political Science Association, Chicago, IL. 22 April 2010.

“Reaping the Social Benefits of Integrated Schools: From Multiple Identities to Curriculum
Strategies for Synergizing the Assets of Diverse School Composition.” Delivered at the
Annual Meeting of the Western Political Science Association, San Francisco, CA. 2 April 2010.
“Feminist Theory Workshop on Wealth of Selves.” Western Political Science Association,
Annual Feminist Theory Workshop, San Francisco, CA. 1 April 2010.

“Multiple Identity Theory and the Implementation of School Integration Policies in the Era
of Voluntary Integration.” Delivered at the 2009 Annual Meeting of the American Political
Science Association, Toronto, ON. 5 September 2009.

“Wealth of Selves: Multiple Identities, Mestiza Consciousness, and the Subject of Politics.”
Identity Research Focus Group. University of California, Santa Barbara, CA. 16 April 2009.

“Intersectionality Influences on Identity Formation: Applications to Youth Gang
Identification and Violence.” Delivered at the Annual Meeting of the Western Political
Science Association, Vancouver, BC. 19 March 2009.

“Author-Meets-Critics Panel: Edwina Barvosa’s Wealth of Selves: Multiple Identities, Mestiza
Consciousness, and the Subject of Politics.” Annual Meeting of the Western Political Science
Association, Vancouver, BC. 18 March 2009.

“Non-Assimilation in the National Interest.” Delivered at the Annual Meeting of the
American Political Science Association, Chicago, IL. 2 September 2007.

Invited Talk: “Non-Assimilation in the National Interest: Multiple Identities, Racism, and U.S.
Immigration.” Department of Political Science, University of California, Santa Barbara, CA.
23 January 2007.

“Multiple National Identities: Citizenship and Political Commitment in Transnational and
Multicultural Contexts.” Delivered at the Annual Meeting of the Western Political Science
Association, Oakland, CA. 18 March 2005.

“Mestiza Autonomy as Relational Autonomy: Autonomy, Ambivalence, Integrity, and the
Social Character of Free Will.” Delivered at the Annual Meeting of the American Political
Science Association, San Francisco, CA. 30 August 2001-3 September 2001.

“Chicanas and Latinas Reshaping Political Practice: Components and Changing Strategies.”
Delivered at the Annual Meeting of the Western Political Science Association, Las Vegas, NV.
15-17 March 2001.

“Sexuality, Body Politics, and the Contours of Gendered Agency.” Delivered at the Annual
Meeting of the American Political Science Association, Washington, DC. 3 September 2000.
“Multiple Identity and Practices of Democratic Citizenship: Influences on Political Judgment
and Activism.” Delivered at the Annual Meeting of the Southwest Political Science
Association, San Antonio, TX. 31 March 1999 - 3 April 1999.

“Multiple Identity and Diverse Coalition Building by U.S. Latinas/os.” Delivered at the
Annual Meeting of the Western Political Science Association, Seattle, WA. 25-27 March 1999.


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Invited Talks: (Selected)

On Implicit Bias in the Justice System:

“Implicit Bias in Policing and the Criminal Justice System,” Elimination of Bias Minimum
Continuing Legal Education (MCLE) for the Santa Barbara County Office of the Public
Defender, Training Conference, February 13, 2017.

Sources of Implicit Bias & Strategies for Bias Mitigation in Justice System Contexts
Elimination of Bias Minimum Continuing Legal Education (MCLE) for County Counsel of
Santa Barbara August, 22, 2016

“Common Sources of Unconscious Bias & Strategies Toward Remedies in Justice System
Contexts,” Elimination of Bias Minimum Continuing Legal Education (MCLE) for the Santa
Barbara County Bar Association, Bench and Bar Conference, January 23, 2016.

“Common Sources of Unconscious Bias & Strategies Toward Potential Remedies in Justice
System Contexts,” Elimination of Bias Minimum Continuing Legal Education (MCLE) for the
Women Lawyers of Ventura County & Santa Barbara Women Lawyers, Carpinteria Women’s
Club, Carpinteria, CA, Wednesday June 3, 2015.

Other Invited Talks:

“Public Engagement on LGBT Civil Rights & Resolutions of Anti-Gay Bias: Lessons for
Achieving Racial Justice,” UCLA, Department of Political Science, October 30, 2015

“Success & Influence in an Age of Constraints.” W. E. B. Du Bois Day Keynote Address, UCSB
Writing Program and Academic Communities for Excellence. University of California, Santa
Barbara, CA. 3 March 2011.

“Workshop on Wealth of Selves.” Project for Equity, Representation, and Governance.
Department of Political Science, Texas A & M University, College Station, TX. 5 February
2010.

“Diversity Within Us and the Elusiveness of Post-Racial America.” Department of Political
Science, University of North Texas, Denton, TX. 8 February 2010.

“Multiplicity Within & Paths to Immigrant Loyalty.” Center for Mexican American Studies,
University of Texas, Austin, TX. 8 February 2010.

“Feminist Theory Workshop on Edwina Barvosa’s Wealth of Selves: Multiple Identities,
Mestiza Consciousness, and the Subject of Politics.” Pre-conference Workshop, Annual
Meeting of the Western Political Science Association, Vancouver, BC. 17 March 2009.

“Mestizaje & Its Political Promise: Will Cultural Mestizaje Transform Citizenship or Renew
the Status Quo?” Center for American Studies. University of Bordeaux III, Bordeaux, France.
18 May 2000.




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Other Presentations & Professional Activity (Selected)

“Diversity Within Us and the Elusiveness of Post-Racial America.” University of California,
Santa Barbara, CA. 3 March 2010.

“Political Maturation of the U.S. Latino Community.” Roundtable panelist. Annual Meeting of
the Western Political Science Association, Vancouver, BC. 20 March 2009.

“Latinos, Race, and the 2008 Presidential Election.” Roundtable panelist. Annual Meeting of
the American Political Science Association, Boston, MA. 30 August 2008.

Meet-the-Author Panelist for The Gospel of César Chávez by Mario T. Garcia. Invited
Discussant. Santa Barbara Public Library, 29 September 2007.

“Are We There Yet? People of Color and the Presidency.” Invited panelist. Multicultural
Center, University of California, Santa Barbara, CA. 24 May 2007.

“Immigration and U.S. Politics.” Center for Chicana/o Studies Brown Bag Series.
Multicultural Center, University of California, Santa Barbara, CA. 5 May 2006.

“May Day & the Recent Immigrant Rights Rallies.” Invited panelist. University of California,
Santa Barbara, CA. 27 April 2006.

“The 1965 Voting Rights Act in the Context of the 2000 and 2004 Elections and Why Women
Historians Should Care.” Berkshire Conference of Women Historians, Scripps College,
Claremont, CA. 3 June 2005.

Meet-the-Author: Discussion of Democracy and the Foreigner by Bonnie Honig. Invited
discussant. Feminist Theory Workshop, Annual Meeting of the Western Political Science
Association, Oakland, CA. 16 March 2005.

“New Directions in Graduate Student Research in Latina/o Politics.” Co-chair and panel
discussant. Annual Meeting of the American Political Science Association, Chicago, IL. 1
September 2004.

“Policy, Political Theory, and Praxis in Latina/o Politics.” Panel discussant. Annual Meeting
of the Western Political Science Association, Portland, OR. 23 March 2004.

“Participation in the Public Sphere: Rethinking the Issue of Inclusion in Democratic Theory.”
Panelist. Annual Meeting of the Western Political Science Association, Long Beach, CA. 24
March 2002.

“Transnational Citizenship: Implications for Latina/o Politics.” Roundtable panelist. Annual
Meeting of the Western Political Science Association, Long Beach, CA. 23 March 2002.

“Junior Faculty of Color Speak to Graduate Students: What We Wish We Knew.” Panelist.
Annual Meeting of the American Political Science Association, San Francisco, CA. 30 August
2001 through 3 September 2001.

“A Conversation on Latino Politics Across Generations: Mario Berrera and Carlos Muñoz and
Those Who Listened.” Panelist. Annual Meeting of the American Political Science Association,


E. Barvosa ~ UCSB                             9                                   February 2017
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San Francisco, CA. 30 August 2001 through 3 September 2001.

“Latina Academics: Living and Teaching on the Borderlands.” Panelist. Gender on the
Borderlands Conference, St. Mary’s University, San Antonio, TX. 3-5 July 2001.

“The Future of U.S.-Mexican Immigration Policy” by former Mexican Ambassador and
Professor of Economics Cassio Luiselli Fernandez. Panelist. U.S.-Mexico Symposium on the
Immigration and Labor Policy Between Mexico and the U.S, University of California, Santa
Barbara, CA. 20 November 2000.

“Impact of the Chicana/o and Latina/o Electorate in the Upcoming Election.” Radio
interview. Interviewed by Pedro Arroyo, KCBX, National Public Radio, San Luis Obispo. 15
October 2000.

“Roundtable on Future Directions in Latino Political Research.” Roundtable panelist. Annual
Meeting of the American Political Science Association, Atlanta, GA. 2-5 September 1999.

“Where Do We Go from Here?” Moderator. Anniversary Conference of El Plan de Santa
Barbara, University of California, Santa Barbara, CA. 21 May 1999.

“Chicana/o Writing, Multiple Identity, and Changing Democratic Practices for the New
Millennium.” Chicana/o Studies Department Colloquium, University of California, Santa
Barbara, CA. 20 February 1998.

“Multiple Identity and Political Possibility.” Annual Meeting of the Ford Foundation Minority
Fellows, National Academy of Sciences, Washington, DC. 17-18 October 1997.

“Transformational Politics: Social Movements and the Postmodern Dilemma.” Panel
discussant. Annual Meeting of the American Political Science Association, Washington, DC.
28-31 August 1997.

“Mexican American Women’s Writing: Learning from Contemporary Political Voices.”
Women’s Studies Seminar Series, Massachusetts Institute of Technology, Cambridge, MA. 10
March 1997.

“Multiplicity of the Self: Reading Ancient Insights.” Gender and Politics Colloquium, Harvard
University, Cambridge, MA. 7 February 1997.

Workshop organizer and moderator for the Ford Foundation Diversity Fellows workshop
on “Balancing Life and Career.” Annual Meeting of the Ford Foundation Diversity Fellows.
2010.

Reviewer for the Dissertation Completion Fellowship of The Andrew W. Mellon
Foundation/American Council of Learned Societies Early Career Fellowship Program. 2010-
2011.

Workshop organizer and moderator for the Ford Foundation Diversity Fellows workshop
on “Balancing Life and Career.” Annual Meeting of the Ford Foundation Diversity Fellows.
2009.

Moderator/discussant, Annual Meeting of the Society for Study of Gloria Anzaldúa. 2009.


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Workshop co-convener for the Annual Latino Politics Workshop. Annual Meeting of the
Western Political Science Association. 2009.

Workshop facilitator for the Ford Foundation Diversity Fellows workshop on
“Professionalization and Grants Writing for Pre-Doctoral and Dissertation Fellows in the
Social Sciences.” Annual Meeting of the Ford Foundation Diversity Fellows. 2008.

Co-chair and organizer of the Latina/o Politics Workshop. Annual Meeting of the Western
Political Science Association. 2008.

Co-chair and organizer of the Latina/o Politics Workshop. Annual Meeting of the Western
Political Science Association. 2007.

Panel co-organizer, “New Directions in Graduate Student Research in Latina/o Politics,”
sponsored by the APSA Standing Committee on the Status of Latinos in the Profession.
Annual Meeting of the American Political Science Association. 2004.

Panel co-organizer, “Alternative Perspectives on Autonomy.” Annual Meeting of the
American Political Science Association. 2001.

Panel organizer, “Gendered Political Agency: Forging Power, Encountering the State.”
Annual Meeting of the American Political Science Association. 2000.

Roundtable panelist. “Beginning Your Academic Appointment.” Annual Meeting of the
Mellon Foundation Minority Fellows. 2000.

Panelist. “Surviving the First Year.” Mellon Foundation Annual Meeting of Predoctoral
Fellows. 1999.

Workshop organizer, presenter, and chair for the Ford Foundation Minority Fellows
workshop on “Making the Most of Graduate School.” Annual Meeting of the Ford Foundation
Minority Fellows. 1998.

Panel chair, “Political Participation: The Intersection of Race, Gender, and Other Identities.”
Annual Meeting of the American Political Science Association. 1998.

Conference co-organizer, “Politics and Identity Formation in Contemporary Europe.” Center
for European Studies, Harvard University. 1997.

Academic Refereeing

      Book Manuscripts: Polity Press, Oxford University Press; Texas A & M University
Press; University of Arizona Press; University of California Press; University of Minnesota
Press; Vanderbilt University Press; University of New Mexico Press; Holt, Rinehart, &
Winston; Lynne Reiner Publishers; Routledge.
      Article Manuscripts: Journal of Political Philosophy; Science, Technology, and Human
Values; American Political Science Review; New Political Science; Aztlán: A Journal of Chicano
Studies; Hypatia: A Journal of Feminist Philosophy; Signs: Journal of Women in Culture and
Society; Feminist Studies; Latino Studies; Meridians: A Journal of Feminism, Race, &
Transnationalism; Perspectives on Politics; Political Research Quarterly; Politics, Groups &


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Identities.

Fellowship Applications: American Council of Learned Societies; Ford Foundation
Diversity Fellowship; UC-Mexus

Teaching ~ University Courses Taught (Selected)

Introduction to Chicana Studies         CHST 1B (enrollment 500+)
Democracy and Diversity                 CHST 179 (cross-listed in Political Science)
Democratizing Gender                    Freshman Seminar (Letters & Sciences)
Theories of Social Change               CHST 176
Chicana/o Politics                      CHST 164
Chicana Feminisms                       CHST 167
Feminist Theories                       FEMST 181
Political Philosophy of César Chávez    CHST 193
Graduate Seminar: Social Processes      CHST 200C
Graduate Seminar: Feminist Theories     FEMST 250
Graduate Seminar: Reading Anzaldúa      CHST 223
Graduate Seminar: Public Policy & Gender FEMST 215

Public Service & Community Engagement (Selected)

2014-5 Co-Chair, Educational Outreach Committee, Social Justice Fund for Ventura County
        (with Karen McAuley)
2013-4 Member, Steering Committee, Social Justice Fund for Ventura County
2013 Keynote Speaker ,“Launching CommON-VC: An Online Networking Site for Social
       Justice Work in Ventura County” Ventura County Community Center, Camarillo, CA
       March 23.
2013 Member, Organizing Committee; Social Justice Fund for Ventura County (SJF) event
       “Social Justice in Practice,” Ventura County Community Center, Camarillo, CA, March
       23, 2013.
2010 Graduation Speaker, Santa Barbara Juvenile Drug Court, Santa Barbara
       Superior Court, #14, December 11, 2010.

Other Departmental & University Service (Selected)

Member, Feminist Studies Departmental Search Committee, 2014-15
Member, LGBTQ Studies Committee, Department of Feminist Studies 2012-13
Coordinator of the Chicana/o Studies Departmental implementation of external review
      Recommendations, 2007-2009.
Faculty Advisor for the Chicana/o Studies Departmental Teaching Assistant Training
      Program. 2006-2008.
Chair, Chicana/o Studies Departmental Undergraduate Committee. 2006-2008.
Member, University Council on Research and Instructional Resources. 2002-2008.
Member, University Advisory Committee for the Center for Chicana/o Studies. 2006- 2008.
Member, Chicana/o Studies Departmental Development Committee. 2004-2006.
Recruitment Program Speaker at the Chancellor’s Regional Receptions in San Jose, Walnut
      Creek, Century City, and Los Angeles. 2000.
Member, University Liaison Committee for the Center for Chicana/o Studies. 2000 & 2001.
Member, University Rockefeller Grant Steering Committee, Ctr for Chicano Studies 2000-01.



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